Case 2:02-cr-00468-MCE-CMK Document 505 Filed 06/17/05 Page 1 of 6
Case 2:02-cr-00468-MCE-CMK Document 505 Filed 06/17/05 Page 2 of 6
Case 2:02-cr-00468-MCE-CMK Document 505 Filed 06/17/05 Page 3 of 6
Case 2:02-cr-00468-MCE-CMK Document 505 Filed 06/17/05 Page 4 of 6
Case 2:02-cr-00468-MCE-CMK Document 505 Filed 06/17/05 Page 5 of 6
Case 2:02-cr-00468-MCE-CMK Document 505 Filed 06/17/05 Page 6 of 6
